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 1                                                     THE HONORABLE JOHN C. COUGHENOUR

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
                                            )
 9   ISAAC OCAK, an individual,             )
                                            )             No.     2:13-cv-00679-JCC
10                              Plaintiff,  )
                                            )
11                   vs.                    )             DEFENDANTS’ ANSWER TO THE
                                            )             COMPLAINT   AND  AFFIRMATIVE
12   LARRY LONGLEY, an individual, JEFFREY )              DEFENSES
     THOMPSON, an individual, SCOTT LUCKIE, )
13   an individual, JOSHUA ZIEMER, an       )
     individual, and CITY OF SEATTLE, a     )
14   Washington municipal corporation,      )
                                            )
15                              Defendants. )

16          COMES NOW defendants Larry Longley, an individual, Jeffrey Thompson, an individual,

17   Scott Luckie, an individual, Joshua Ziemer, an individual, and City of Seattle, by and through their

18   attorneys, Peter S. Holmes, Seattle City Attorney, Brian G. Maxey, Assistant City Attorney, Sarah K.

19   Morehead, Assistant City Attorney, and hereby submit their Answer and Affirmative Defenses to

20   Plaintiff’s Complaint, and allege as follows:

21                     I. INTRODUCTION, PARTIES, JURISDICTION AND VENUE

22          1.       Defendants deny all allegations in this paragraph.

23


     DEFENDANTS’ ANSWER TO THE COMPLAINT                                              PETER S. HOLMES
                                                                                      Seattle City Attorney
     AND AFFIRMATIVE DEFENSES (13-cv-00679-JCC) - 1                                   600 Fourth Avenue, 4th Floor
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 1           2.       Defendants lack sufficient information to form a belief as to the truth of the allegations

 2   set forth in this paragraph, and therefore deny the allegations at this time.

 3           3.       Defendants admit the allegations in this paragraph.

 4           4.       Defendants admit that the individual officers named herein are employees of the City of

 5   Seattle who were, at all relevant times, in uniform. Whether the officers acted under color of law is a

 6   legal conclusion, not an averment of fact warranting a response.

 7           5.       Defendants deny that venue in King County Superior Court is proper and affirmatively

 8   allege that venue is proper in the Western District of Washington. Additionally, defendants admit that

 9   this Court has jurisdiction over plaintiff’s claims.

10           6.       Defendants admit that plaintiff filed a notice of claim with the City of Seattle on or

11   about December 26, 2013 and that sixty days have elapsed since that date. The allegation about the

12   timeliness of the complaint states a legal conclusion to which no response to required.

13                                                     II. FACTS

14           7.       Defendants deny the allegations in this paragraph.

15           8.       Defendants deny the allegations in this paragraph.

16           9.       Defendants deny the allegations in this paragraph.

17           10.      Defendants deny the allegations in this paragraph.

18           11.      Defendants deny the allegations in this paragraph.

19           12.      Defendants admit that plaintiff was placed in handcuffs, but deny the remaining

20   allegations in this paragraph.

21           13.      Defendants deny the allegations in this paragraph.

22           14.      Defendants deny the allegations in this paragraph.

23           15.      Defendants deny the allegations in this paragraph.


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 1           16.     Defendants deny the allegations in this paragraph.

 2           17.     Defendants deny the allegations in this paragraph.

 3           18.     Defendants deny the allegations in this paragraph.

 4           19.     Defendants admit that plaintiff was charged with assault and that the charges were

 5   dismissed. Defendants lack sufficient information to form a belief as to the truth of the remaining

 6   allegations set forth in this paragraph, and therefore deny the allegations at this time.

 7           20.     Defendants deny the allegations in this paragraph.

 8           21.     Defendants deny the allegations in this paragraph.

 9           22.     Defendants deny the allegations in this paragraph.

10           23.     Defendants lack sufficient information to form a belief as to the truth of the allegations

11   set forth in this paragraph, and therefore deny the allegations at this time.

12           24.     Defendants deny the allegations in this paragraph.

13           25.     Defendants lack sufficient information to form a belief as to the truth of the allegations

14   set forth in this paragraph, and therefore deny the allegations at this time.

15           26.     Defendants deny the allegations in this paragraph.

16           27.     Defendants deny the allegations in this paragraph.

17           28.     Defendants deny the allegations in this paragraph.

18                                               III. LEGAL CLAIMS

19                        FIRST CAUSE OF ACTION – ASSAULT AND BATTERY

20           29.     Defendants incorporate all prior paragraphs into this section.

21           30.     Defendants deny the allegations in this paragraph.

22           31.     Defendants deny the allegations in this paragraph.

23           32.     Defendants deny the allegations in this paragraph.


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 1                            SECOND CAUSE OF ACTION – FALSE ARREST

 2          33.     Defendants incorporate all prior paragraphs into this section.

 3          34.     Defendants deny the allegations in this paragraph.

 4          35.     Defendants deny the allegations in this paragraph.

 5          36.     Defendants deny the allegations in this paragraph.

 6          37.     Defendants deny the allegations in this paragraph.

 7                            THIRD CAUSE OF ACTION – EXCESSIVE FORCE

 8          38.     Defendants incorporate all prior paragraphs into this section.

 9          39.     Defendants deny the allegations in this paragraph.

10          40.     Defendants deny the allegations in this paragraph.

11          41.     Defendants deny the allegations in this paragraph.

12                                     FOURTH CAUSE OF ACTION –

13                CLAIMS AGAINST INDIVIDUAL DEFENDANTS UNDER 42 U.S.C §1983

14          42.     Defendants incorporate all prior paragraphs into this section.

15          43.     The allegations in this paragraph are conclusions of law, not averments of fact

16   warranting a response.

17          44.     The allegations in this paragraph are conclusions of law, not averments of fact

18   warranting a response.

19          45.     Defendants deny the allegations in this paragraph.

20          46.     Defendants deny the allegations in this paragraph.

21          47.     Defendants deny the allegations in this paragraph.

22          48.     Defendants deny the allegations in this paragraph.

23          49.     Defendants deny the allegations in this paragraph.


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 1          50.    Defendants deny the allegations in this paragraph.

 2          51.    Defendants deny the allegations in this paragraph.

 3                                     FIFTH CAUSE OF ACTION –

 4                CLAIMS AGAINST THE CITY OF SEATTLE UNDER 42 U.S.C §1983

 5          52.    Defendants incorporate all prior paragraphs into this section.

 6          53.    Defendants deny the allegations in this paragraph.

 7          54.    Defendants deny the allegations in this paragraph.

 8          55.    Defendants deny the allegations in this paragraph.

 9          56.    Defendants deny the allegations in this paragraph.

10          57.    Defendants admit that the DOJ investigated the Seattle Police Department and made

11   findings, but deny plaintiff’s characterization of those finding and all further allegations in this

12   paragraph.

13          58.    Defendants deny the allegations in this paragraph.

14          59.    Defendants deny the allegations in this paragraph.

15          60.    Defendants deny the allegations in this paragraph.

16          61.    Defendants deny the allegations in this paragraph.

17          62.    Defendants deny the allegations in this paragraph.

18          63.    Defendants deny the allegations in this paragraph.

19                                     SIXTH CAUSE OF ACTION –

20                 CLAIMS AGAINST THE CITY OF SEATTLE UNDER STATE LAW

21          64.    Defendants incorporate all prior paragraphs into this section.

22          65.    Defendants deny the allegations in this paragraph.

23                       SEVENTH CAUSE OF ACTION – PUNITIVE DAMAGES


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 1          66.      Defendants incorporate all prior paragraphs into this section.

 2          67.      Defendants deny the allegations in this paragraph.

 3                                                PRAYER FOR RELIEF

 4          Defendants deny that plaintiff is entitled to any of the relief set forth in this section, including

 5   subparagraphs 1-4.

 6                                        IV. AFFIRMATIVE DEFENSES

 7          1.       Plaintiff has failed to state a claim upon which relief may be granted.

 8          2.       The City, a municipal corporation, is immune from liability for prejudgment interest

 9   on tort judgments and is immune from punitive damages.

10          3.       Defendant City has not violated any rights, privileges or immunities under the

11   Constitution or laws of the United States or the State of Washington or any political subdivision

12   thereof.

13          4.       At all times relevant to the acts alleged in the complaint, the duties and functions of

14   the City’s officials entailed the reasonable exercise of proper and lawful discretion.

15          5.       Plaintiff’s state law claims are barred in whole, or in part, by governmental

16   immunity for discretionary, policy-making and/or judgmental functions and decisions.

17          6.       Any injury or property damage alleged to have been sustained resulted from

18   plaintiff’s own culpable or negligent conduct and was not the proximate result of any act of the

19   defendants.

20          8.       There was probable cause for plaintiff’s detention and arrest.

21          9.       Any force used against plaintiff was reasonable.

22          10.      The individual officers are entitled to qualified immunity.

23                                      V.      JURY TRIAL DEMAND


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 1          Defendants respectfully demand a trial by jury of all issues so triable.

 2          WHEREFORE, defendants respectfully request that the Complaint be dismissed with

 3   prejudice, that they be awarded costs and reasonable attorneys’ fees herein, and that they be granted

 4   such other and further relief as the Court finds just and equitable.

 5          DATED this 14h day of June, 2013.

 6                                                  PETER S. HOLMES
                                                    Seattle City Attorney
 7
                                            By:     s/Brian G. Maxey
 8                                                  Brian G. Maxey, WSBA #33279
                                                    Assistant City Attorney
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10                                                  s/Sarah K. Morehead
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16                                                  Attorneys for Defendants

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